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          In the United States Court of Federal Claims
                                  No. 09-380L

                           (Filed February 18, 2011)

************************
JERRY McGUIRE,           *
                         *                     Fifth Amendment Taking;
          Plaintiff,     *                     Motion to Dismiss, RCFC
                         *                     12(b)(1) and 12(b)(6);
     v.                  *                     Subject Matter Jurisdiction;
                         *                     Law of the Case; Ripeness;
UNITED STATES OF AMERICA *                     Motion for Summary Judgment,
                         *                     RCFC 56(c).
          Defendant.     *
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       David A. Domina, Law Office of Domina Law Group, Omaha, NE,
attorney of record for plaintiff.

      Jessica M. Held, U.S. Department of Justice, Environmental and Natural
Resources Division, with whom was Assistant Attorney General Ignacia S.
Moreno, for defendant.


                            OPINION AND ORDER

       Futey, Judge.


        Jerry McGuire brought this inverse condemnation claim nine years ago in
a federal bankruptcy proceeding in district court in Arizona. He alleges that the
government took his leased property by removing a bridge he used to access the
northern portion of the property. He thus demands more than $2 million in
compensation. After a trial and appeal, the United States Court of Appeals for the
Ninth Circuit held that exclusive jurisdiction over the merits of McGuire’s claim
rests in the United States Court of Federal Claims. McGuire v. United States,
550 F.3d 903, 906 (9th Cir. 2008). The Ninth Circuit therefore remanded the case
with instructions to transfer it here, and this Court received it on June 10, 2009.

       On September 3, 2010, defendant moved to dismiss under Rules 12(b)(1)
and 12(b)(6) of the Rules of the United States Court of Federal Claims (“RCFC”).
Defendant argues that jurisdiction is lacking because the claim never ripened,
even though the Ninth Circuit found it ripe. In the alternative, defendant moves
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for summary judgment under RCFC 56(c) and asserts that McGuire has failed to
show a legally cognizable property interest, that McGuire cannot show a
compensable taking, and that the government’s use of its public safety power
prevents a taking from being found.

        Before proceeding further, the Court must briefly discuss a jurisdictional
issue. The bankruptcy court exercised jurisdiction over McGuire’s takings claims
based on the decision of the United States Court of Appeals for the Federal
Circuit in Quality Tooling v. United States. 47 F.3d 1569 (Fed. Cir. 1995).
There, a divided panel held that “[t]he Tucker Act waives the government’s
immunity from suit on its contracts in any court to which Congress grants
jurisdiction to hear the claim.” Quality Tooling, 47 F.3d at 1575. A district court
sitting in bankruptcy thus can exercise jurisdiction over government contracts
claims, since 28 U.S.C. § 1334(b) (2006) gives it jurisdiction over “all civil
proceedings” arising under or related to the bankruptcy. Quality Tooling, 47 F.3d
at 1573. The Ninth Circuit on appeal, however, explicitly disagreed with the
Federal Circuit’s holding in Quality Tooling, found that the Tucker Act’s waiver
of sovereign immunity applies only to this court, and remanded the case for
transfer here under 28 U.S.C. § 1631 (2006). McGuire, 550 F.3d at 914. Under
Federal Circuit precedent, a transfer under § 1631 is improper if the transferor
court has jurisdiction, and, under Quality Tooling, the transferor court may have
had jurisdiction. Fisherman’s Harvest, Inc. v. PBS & J, 490 F.3d 1371, 1375
(Fed. Cir. 2007).

        The Court considers it proper to proceed with the resolution of McGuire’s
claims for three primary reasons. First, in Quality Tooling, the majority itself
described the decision as fairly narrow, in response to the fear of the dissent that
the decision would effect a “wholesale transfer” of takings cases “from the Court
of Federal Claims to the district courts.” Quality Tooling, 47 F.3d at 1578.
Second, although the majority’s reasoning would likely encompass takings
claims, the specific holding is limited to the jurisdiction of a district court sitting
in bankruptcy to hear government contracts claims, not takings claims. Id. at
1575. Third, if this Court were to refuse to hear McGuire’s takings claims due to
an improper transfer under § 1631, and transfer this case back to the district court,
then the Court fears that “jurisdictional ping-pong” would result. Christianson v.
Colt Indus. Op. Corp., 486 U.S. 800, 818 (1988).

I.       Background

         A. The Lease and Removal of the Eighth Avenue Bridge
        McGuire entered into a ten-year lease on January 1, 1995 with the
Colorado River Indian Tribes (“CRIT”). The lease covered approximately 1,355
acres on the CRIT reservation in Arizona, and McGuire planned to farm alfalfa on
the land. Rent was set at $226,411.92 annually for the first five years and, for the
next five years, at the appraised value. The Bureau of Indian Affairs (“BIA”)
approved the lease on June 13, 1996, as was required since the United States

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holds the land in trust for the CRIT. At the outset of the lease, McGuire claims
that he invested approximately $1.2 million in the leased property and tools to
farm it, although no evidence apart from his trial testimony has been offered to
the Court. 1
        Under the lease, the property is “subject to any prior, valid, existing claim
or rights-of-way, including the present existing roads.” 2 Additionally, the leased
property itself is bisected into northern and southern portions by Mohave Road,
and a BIA-owned irrigation canal runs parallel to this road. The BIA has a right-
of-way on both sides of the canal. The canal and right-of-way were both present
when McGuire entered into the lease.
        At the time the lease was signed, a wooden bridge crossed the BIA canal
at the intersection of Eighth Avenue and Mohave Road. In place since at least
1969 and constructed by a prior tenant, the bridge allowed convenient access to
both sides of the property, and many people, including government officials, used
the bridge. The lease, however, does not explicitly mention the bridge. The lease
does authorize “ingress and egress to the leased premises over existing roadways
under the possession and control” of the CRIT. 3
       At some point in 1998, Allen Anspach, Superintendent of the Colorado
River Agency (“CRA”) of the BIA, grew concerned about the structural integrity
of the bridge. Anspach shared these concerns with McGuire in the summer of
1998 and told him that the BIA was going to remove the bridge. On February 5,
1999, Anspach informed McGuire by letter of BIA’s plan to remove “the unsafe
and unauthorized wooden bridge” in January 2000. 4 Anspach also wrote, “If you
should decide that you need to bridge the canal in order to operate your farm you
may submit to the Agency Superintendent plans, with specifications, for a new
bridge and apply for a crossing permit.” 5 On August 25, 1999, Anspach again
wrote McGuire to confirm that the BIA would remove the bridge in January 2000
and stated, “[S]hould you feel a new bridge is needed at this location it will be
necessary for you to submit the required documentation to the Agency
Superintendent in accordance with the enclosed requirements from 25 CFR,
Chapter 171.9.” 6
       In the February and August letters, Anspach told McGuire that if he had
any questions, he could contact two local officials: Ted Henry, Irrigation System
Manager, or Jeffrey Hinkins, Supervisory General Engineer. According to
1
   A trial was previously held in federal bankruptcy court. As part of their
submissions regarding defendant’s dispositive motion, the parties have submitted
excerpts of that trial testimony.
2
  Def.’s Mot. Dismiss Or Mot. Summ. J. & Mem. Supp. Ex. 1, at 3 [hereinafter
Def.’s Mot.].
3
  Id. at 10.
4
  Def.’s Mot. Ex. 5.
5
  Id.
6
  Def.’s Mot. Ex. 7.
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McGuire’s trial testimony, he contacted Hinkins and Henry “[m]any times” about
what he had to do to put in a new bridge. 7 McGuire claims he discussed the
specifics of a bridge and sketched out a plan with these officials, and they
informed him that the approval decision for a new bridge ultimately rested with
Anspach. Hinkins, however, testified that Henry and he only discussed a
replacement bridge with McGuire and never received “any written submission” or
“documentation” with respect to a bridge design, nor did they tell him to talk to
Anspach. 8
       McGuire filed suit against the BIA in tribal court in October 1999 in an
attempt to block the removal of the bridge. He alleged in the complaint that it
would be illegal and a breach of contract to remove the bridge, as well as a taking.
The BIA did not appear in court, and no record of any judgment from that
proceeding has been submitted to the Court.
        On November 12, 1999, Anspach wrote McGuire to inform him that the
bridge would be closed immediately and then removed, as planned, in January
2000. Anspach also wrote, “We again encourage you to apply for a permit to
replace the current structure with one that meets [BIA’s] design and safety
requirements. (25 CFR 171.9).” 9 According to the letter, the BIA had decided to
remove the bridge “to limit the liability of the United States and to protect the
public” and the decision to remove the bridge was “final for the Department of
Interior.” 10 If McGuire was unsatisfied with the decision to remove the bridge,
the letter informed him that he could “file in U.S. District Court.” 11 McGuire
never filed such a challenge in district court. 12
       The bridge was removed in January 2000. McGuire withheld his January
1, 2000 rental payment because he considered the lease breached. At trial,
McGuire testified that he could have made this payment, but he chose not to do
so. On July 11, 2000, the CRIT informed McGuire that failure to pay rent was a
breach of the lease, and the lease was cancelled in August 2000. McGuire
appealed this decision to the BIA’s Western Regional Director, who affirmed the
lease cancellation on February 2, 2001. McGuire did not appeal that director’s
decision to the Interior Board of Indian Appeals.
        B. Alfalfa Farming and Alternate Means of Access
       McGuire used his farm to plant alfalfa and then harvest it as hay. Alfalfa
grows on a five-year cycle and must be frequently harvested; McGuire contends
that removal of the bridge made it too difficult for his haulers to remove the
harvested alfalfa hay. At trial, McGuire described the farming process and the

7
  Resp. Summ. J. Mot. Ex. 1, at 255 [hereinafter Pl.’s Resp.].
8
  Pl.’s Resp. Ex. 1, at 358.
9
  Def.’s Mot. Ex. 8.
10
   Id.
11
   Id.
12
   Pl.’s Resp. Ex. 1, at 170–71.
                                         4
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equipment required. When the alfalfa is ready for harvest, a machine called a
swather or wind rower cuts the hay. The cut swaths of hay are left in the field for
a number of days, and then a tractor pulls a set of rakes through the hay to divide
it into rows. A hay baler drives through the rows, picks up the hay, and
compresses it into bales. McGuire’s bales ranged from 80 to 135 pounds. After
the hay is baled, a machine called a roadsider picks up the bales and arranges
them into large stacks suitable for review by potential purchasers and eventual
pickup by a hauler. Finally, a hauler transports bales of purchased hay off of the
farm. Defendant’s expert provided the Court with general dimensions of the
trucking rigs used by haulers for these hay bales. 13
        In 1999 and 2000, McGuire stacked his baled hay near the Eighth Avenue
Bridge, and, before the bridge’s removal, his haulers crossed that bridge to pick
up the hay from that stack. After the removal of the bridge, McGuire had to use
small gooseneck trailers to remove the hay, and many of his haulers refused to
repeat the process, which they found dangerous. McGuire contends that removal
of the bridge made it inefficient to haul hay off of the northern portion of his
property.
        Defendant asserts that McGuire had other options for removing the hay.
Defendant’s expert, Dr. L. Niel Allen, identified four options for removing hay
from the property. 14 First, McGuire could have accessed the stack at Eighth
Avenue from a bridge to the west at Tenth Avenue, but he would have had to
make approximately $25,960 in capital costs to improve this route, as well as
incur $9,600 annually in hauling costs due to the lengthened drive time. Second,
McGuire could have accessed the Eighth Avenue stack from the east via a bridge
at Brown Road, which would require $8,600 in capital costs and $14,400 annually
in additional hauling costs. Third, McGuire could have used a more distant
northern route via Levee Road, which would have cost him an additional $9,600
per year in hauling costs, as well as $500 to clear brush. Fourth, Dr. Allen
suggested that McGuire could have moved the location of his stacks nearer to
either the Tenth Avenue Bridge or the Brown Road Bridge, which would have
cost him approximately $30,266 over the remainder of the lease.
        All told, Dr. Allen estimated the cost of these four options to range from
$30,266 to $78,600 over the remainder of the lease. In his response, McGuire
does not present any evidence or testimony to controvert Dr. Allen’s findings and
estimates; he only states at one point that Dr. Allen’s findings are “not
possible.” 15 McGuire instead insists that “[t]he bridge provided the only access
point for the farm’s northern section.” 16




13
   See Def.’s Mot. Ex. 15.
14
   Id.
15
   Resp. Def.’s Proposed Findings of Fact ¶ 13.
16
   Id. at ¶ 13.1.
                                        5
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       C. Procedural History
         In June 2001, McGuire filed for Chapter 11 bankruptcy relief in the
United States District Court of Arizona. He then filed, on November 13, 2001, an
inverse condemnation claim against the United States. McGuire, 550 F.3d at 908.
Defendant moved to dismiss for lack of subject matter jurisdiction on sovereign
immunity grounds. Id. As noted above, the bankruptcy court relied on Quality
Tooling, and issued a recommendation that sovereign immunity had been waived
by the Tucker Act, 28 U.S.C. § 1491 (2006). McGuire, 550 F.3d at 908. The
district court adopted these recommendations and remanded for trial. McGuire,
550 F.3d at 908. After trial, the bankruptcy court concluded that the United States
had committed a regulatory taking and recommended an award of $1,132,059.60.
Id. This amount represented the rent McGuire would have paid over the next five
years of the lease. The district court rejected this recommendation and found that
McGuire’s claim was not ripe for review because he had not followed the proper
procedures for seeking a replacement bridge. Id.
        On appeal, the Ninth Circuit reversed and found the claim ripe for review.
Id. at 910. The court also, however, found the decision of the Federal Circuit in
Quality Tooling to be erroneous and held that the district court lacked jurisdiction
over the merits of the takings claim, since it exceeds $10,000. Id. at 913. The
court therefore remanded the case to the district court, with instructions to transfer
it here pursuant to 28 U.S.C. § 1631. Id. at 915.
       Following transfer, a complaint was filed in this Court on June 30, 2009.
The parties conducted limited discovery, and on September 3, 2010 defendant
moved to dismiss or, in the alternative, for summary judgment. McGuire filed a
response on September 21, 2010, and defendant filed a reply on September 28,
2010. Oral argument was held on January 19, 2011.
II.    Analysis
        Defendant raises two primary issues in its motion. Defendant first argues
that the takings claim never ripened, and thus moves to dismiss. In the
alternative, defendant argues that even if the claim is ripe, McGuire cannot
demonstrate a taking, and that summary judgment in defendant’s favor is
therefore appropriate.
       A. Motion to Dismiss
        The issue of ripeness, around which defendant centers its motion to
dismiss, was previously briefed before and adjudicated by the Ninth Circuit. That
court found the claim ripe. McGuire, 550 F.3d at 910. According to defendant,
however, the Ninth Circuit’s discussion of ripeness was mere dicta, issued by a
court without jurisdiction, and this Court must reexamine the issue. McGuire, on
the other hand, argues that the Court is bound by the Ninth Circuit’s
determination under the law of the case doctrine. The Court disagrees with
elements of both parties’ arguments but will abide by the Ninth Circuit decision.

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               1. Standard of Review
        Defendant has moved to dismiss for lack of jurisdiction under RCFC
12(b)(1). The Tucker Act sets the “jurisdictional reach” of the Court of Federal
Claims. Rick’s Mushroom Serv., Inc. v. United States, 521 F.3d 1338, 1343
(Fed. Cir. 2008). That Act waives the sovereign immunity of the federal
government for certain claims, including those founded upon the Constitution. 28
U.S.C. § 1491(a)(1); see also Sanders v. United States, 252 F.3d 1329, 1334
(Fed. Cir. 2001). Since the Tucker Act does not itself create any substantive
rights, a plaintiff must identify a substantive right, such as the Takings Clause of
the Fifth Amendment, that entitles it to relief. See United States v. Testan, 424
U.S. 392, 398 (1976); Jan’s Helicopter Serv., Inc. v. F.A.A., 525 F.3d 1299,
1309 (Fed. Cir. 2008). Although the Court of Federal Claims shares jurisdiction
with federal district courts for takings claims not in excess of $10,000, 28 U.S.C.
§ 1346(a)(2), the court has exclusive jurisdiction for claims over $10,000. See E.
Enters. v. Apfel, 524 U.S. 498, 520 (1998); Jan’s Helicopter, 525 F.3d at 1304.
        A plaintiff must establish by a preponderance of the evidence facts
sufficient to invoke the court’s jurisdiction. See M. Maropakis Carpentry, Inc. v.
United States, 609 F.3d 1323, 1327 (Fed. Cir. 2010). At the jurisdictional stage, a
plaintiff does not have to prove these facts but “need only plead[]” sufficient
facts. Total Med. Mgmt., Inc. v. United States, 104 F.3d 1314, 1319 (Fed. Cir.
1997). Undisputed allegations in a complaint are “normally consider[ed] . . . to
be true and correct,” but a defendant may challenge the truth of any jurisdictional
facts. Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 747 (Fed. Cir.
1988). A court may consider evidence to resolve any factual disputes regarding
those facts. Id.
        Defendant has also moved to dismiss for failure to state a claim on which
relief can be granted under RCFC 12(b)(6). To survive such a motion, a plaintiff
must “plead[] factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.” Ashcroft v.
Iqbal, 129 S. Ct. 1937, 1949 (2009). In ruling on such a motion, a “court must
accept as true the complaint’s undisputed factual allegations and should construe
them in a light most favorable to the plaintiff.” Cambridge v. United States, 558
F.3d 1331, 1335 (Fed. Cir. 2009).
               2. Takings Claims Must Ripen Before They are Suitable for
                  Review.
       Before this Court—or any court—can hear a takings claim, that claim
must have ripened. See Howard W. Heck & Assocs., Inc. v. United States, 134
F.3d 1468, 1471 (Fed. Cir. 1998); see also Nat’l Park Hospitality Ass’n v. Dep’t
of Interior, 538 U.S. 803, 807–08 (2003) (discussing why courts refuse to
exercise jurisdiction over unripe claims).
       A regulatory takings claim does not ripen “until the government entity
charged with implementing the regulations has reached a final decision regarding

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the application of the regulations to the property at issue.” Williamson Cnty.
Reg’l Planning Comm’n v. Hamilton Bank, 473 U.S. 172, 186 (1985). A court
must know “to a reasonable degree of certainty what limitations the agency will,
pursuant to regulations, place on the property.” Morris v. United States, 392 F.3d
1372, 1376 (Fed. Cir. 2004). If an agency has “procedures for obtaining a final
decision, a takings claim is unlikely to be ripe until the property owner complies
with those procedures.” Id.
        The ripeness doctrine “does not require a landowner to submit applications
for their own sake.” Palazzolo v. Rhode Island, 533 U.S. 606, 622 (2001). The
key is simply to know “how far the regulation goes” and how it applies to the
property at issue. MacDonald, Sommer & Frates v. Yolo Cnty., 477 U.S. 340,
348 (1986). Until this is known, “‘it is impossible to tell whether the land
retain[s] any reasonable beneficial use or whether [existing] expectation interests
[have] been destroyed.’” Id. at 349 (quoting Williamson Cnty., 473 U.S. at 190
n.11). Toward this end, a plaintiff must allow the relevant authority “the
opportunity, using its own reasonable procedures, to decide and explain the reach
of a challenged regulation.” Palazzolo, 533 U.S. at 620.
        A failure to obtain a final decision may be excused under either the
administrative futility or extraordinary delay exceptions to ripeness. Generally, a
property owner must comply with administrative processes where those processes
“could reasonably result in a more definite statement of the impact of the
regulation.” Morris, 392 F.3d at 1376. In the narrow circumstance “‘in which the
administrative entity has no discretion regarding the regulation’s applicability and
its only option is enforcement,’” courts will not require a plaintiff to pursue
further administrative processes. Id. (quoting Greenbrier v. United States, 193
F.3d 1348, 1359 (Fed. Cir. 1999)). This administrative futility exception is
narrow and is designed to prevent a plaintiff from having to “‘submit multiple
applications when the manner in which the first application was rejected makes it
clear that no project will be approved.’” Howard W. Heck, 134 F.3d at 1472
(quoting S. Pac. Transp. Co. v. City of Los Angeles, 922 F.2d 498, 504 (9th Cir.
1990)).
        Extraordinary delay in the government’s permitting process may also
excuse a failure to obtain a final decision. Boise Cascade Corp. v. United States,
296 F.3d 1339, 1352 (Fed. Cir. 2002). The relevant delay must be truly
“extraordinary,” and the Federal Circuit has called an eighteen-month delay in
one case “far short of extraordinary.” Appolo Fuels, Inc. v. United States, 381
F.3d 1338, 1351 (Fed. Cir. 2004); see also Tahoe-Sierra Pres. Council, Inc. v.
Tahoe Reg’l Planning Agency, 535 U.S. 302, 306 (2002) (finding that a thirty-
two month delay was not extraordinary); Wyatt v. United States, 271 F.3d 1090,
1097 (Fed. Cir. 2001) (finding that a ten-year delay was not extraordinary). It is a
“rare circumstance” to find an extraordinary delay without also finding bad faith
on the part of the government. Wyatt, 271 F.3d at 1098.




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               3. Is McGuire’s Claim Ripe?
       The Ninth Circuit found McGuire’s claim ripe. McGuire, 550 F.3d at
910. The parties, however, dispute the effect that decision should have on this
Court.
                       a. Once a Court Decides an Issue, that Decision Becomes
                          the Law of the Case.
        McGuire argues that the law of the case doctrine requires this Court to
follow the Ninth Circuit’s decision. “As most commonly defined, the doctrine [of
the law of the case] posits that when a court decides upon a rule of law, that
decision should continue to govern the same issues in subsequent stages in the
same case.” Arizona v. California, 460 U.S. 605, 618 (1983). Both a court’s
own decisions and the decisions of other courts in the same case become the law
of the case. See Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 816
(1988). Courts are “routinely” called upon to “apply law-of-the-case principles to
transfer decisions of coordinate courts.” Id. Even jurisdictional decisions receive
law of the case treatment, and the Supreme Court has stated that “no reason”
exists to apply law of the case principles “less rigorously to transfer decisions that
implicate the transferee’s jurisdiction.” Id. at 816 n.5.
                               i. The Law of the Case Doctrine is Not the Same
                                  as Res Judicata.
        The doctrines of law of the case and res judicata differ, although the
parties’ arguments have not always heeded this difference. The government has
argued that the Court should “‘override [] res judicata.’” 17 According to the
government, overriding the decision is particularly appropriate in this case since
“‘[a]llowing the judgment to stand would substantially infringe the authority of
another tribunal or agency of government.’” 18
         These doctrines are related, but not identical. Res judicata bars the
relitigation of issues in subsequent litigation, while the law of the case directs a
court’s discretion in the same litigation. See S. Ry. Co. v. Clift, 260 U.S. 316, 319
(1922) (“[T]here is a difference between [law of the case] and res adjudicata.”).
In the case around which the government centers its argument, the Court of
Appeals for the Fifth Circuit acknowledged it lacked jurisdiction over a claim
against the government but nevertheless issued a “predicate” judgment.
Christopher Vill., L.P. v. United States, 360 F.3d 1319, 1324 (Fed. Cir. 2004). In
a subsequent lawsuit, the Court of Federal Claims refused to be bound by res
judicata to a judgment issued by a court without jurisdiction, and the Federal
Circuit affirmed. Id. at 1321. In this case, McGuire does not attempt to use a


17
    Def.’s Mot. 16 (quoting Christopher Vill., L.P. v. United States, 360 F.3d
1319, 1332 (Fed. Cir. 2004)).
18
   Id. (quoting Christopher Vill., 360 F.3d at 1330) (internal quotations removed).
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judgment in a prior case to bind the parties in the present one. Instead, he asks the
Court to not overturn a decision already made in this case.
                               ii. How Much Deference is Due?
         An issue that has been decided in a case becomes the law of the case and
influences later decisions in two different, though closely related ways. First,
when an appellate court decides an issue, that decision binds the lower court from
which the case was appealed. See In re Sanford Fork & Tool Co., 160 U.S. 247,
255 (1895) (noting that when an appellate court decides a case the lower court “is
bound by the decree as the law of the case”); Exxon Corp. v. United States, 931
F.2d 874, 877 (Fed. Cir. 1991) (“Law of the case, then, merely requires a trial
court to follow the rulings of an appellate court.”). Second, when a court itself, or
a “coordinate court” in a transferred case, has decided an issue, then a court
“should be loathe” to revisit the decision, although it is not binding.
Christianson, 486 U.S. at 817. In the latter situation, revisiting a decision would
be improper “in the absence of extraordinary circumstances such as where the
initial decision was ‘clearly erroneous and would work a manifest injustice.’” Id.
(quoting Arizona, 460 U.S. at 618 n.8); see also Federal Air Marshals v. United
States, 84 Fed. Cl. 585, 590 (2008).
        The procedural posture of this case is somewhat unusual and has led to
arguments from the parties that touch on both levels of deference. Under normal
circumstances, the Court of Federal Claims receives transferred cases from
federal district courts and must consider the law of the case effect of those district
courts’ decisions. See, e.g., Taylor v. United States, 73 Fed. Cl. 532, 538 (2006)
(reviewing the decision of the United States District Court for the Central District
of California to transfer a case to the Court of Federal Claims). This clearly falls
under the second type of deference, as federal district courts are “coordinate” to
this Court, and their decisions are not binding upon it.
        McGuire, however, argues that the first, binding type of deference should
apply in this case, since a decision was reached by an appellate court. 19 The
Court disagrees. The appellate court that issued the decision was the appellate
court from another circuit. The decisions of the Federal Circuit, not the Ninth
Circuit, are binding on this Court. See Coltec Indus., Inc. v. United States, 454
F.3d 1340, 1353 (Fed. Cir. 2006).
        The government argues that the second, non-binding type of deference
applies. The Court agrees, but notes a confusion with the terminology usually
used to describe this type of deference. In Christianson and other cases, this type
of deference is applied to the review of a court’s own decisions or decisions of
“coordinate courts” in the same suit. 486 U.S. at 816. In this case, the decision in
question was reached neither by the court itself nor a “coordinate court,” since the
Court of Appeals for the Ninth Circuit, as an appellate court, is coordinate to the
Court of Appeals for the Federal Circuit. See Biotechnology Indus. Org. v.

19
     Pl.’s Resp. 2.
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District of Columbia, 496 F.3d 1362, 1369 n.1 (Fed. Cir. 2007) (“Christianson
directs appellate courts to apply the law of the case doctrine and defer to sister
Circuits’ jurisdictional determinations upon a transfer.”) (emphasis added).
         A similar procedural path appears in Doko Farms v. United States, 861
F.2d 255 (Fed. Cir. 1988), and suggests that the deference appropriate to a
“coordinate court” should apply here. In that case, a suit was brought in federal
district court and appealed to the Fifth Circuit, which held that the district court
lacked jurisdiction, and transferred the case to the United States Claims Court. Id.
at 256. The Claims Court, however, conducted an “independent evaluation” that
did not treat the Fifth Circuit’s decision as the law of the case, and retransferred
the case. Id. The Federal Circuit held that the Claims Court erred and that “[t]he
decision of the Fifth Circuit . . . is the law of the case.” Id. The court also stated
that it did not need to analyze the Claims Court’s reasons for retransfer, but noted
“that the decision of the Claims Court was rendered prior to the decision of the
Supreme Court in Christianson.” Id. at 256. This language strongly suggests that
the rule in Christianson for “coordinate courts” would have been relevant and
applicable to the Claims Court’s consideration of the Fifth Circuit decision.
        Finally, defendant argues that no deference is due because the Ninth
Circuit lacked jurisdiction and their decision on ripeness was merely dicta. Only
issues that were “actually decided, either explicitly or by necessary implication,”
are considered the law of the case. Toro Co. v. White Consol. Indus., Inc., 383
F.3d 1326, 1335 (Fed. Cir. 2004). In this case, the Ninth Circuit wrote that
“judicial economy and courtesy to transferee courts dictates” the resolution of the
threshold issue of ripeness prior to transfer, and that “it would be inappropriate to
transfer a case that we did not consider ripe for adjudication.” McGuire, 550 F.3d
at 910 n.3. The court then looked to the “uncontested district court jurisdiction
over the bankruptcy” and the “authority from the Federal Circuit Court of Appeals
indicating that the district court had jurisdiction over the Tucker Act claim,” even
though the Ninth Circuit found that authority to be erroneous. Id. at 913–14
(discussing and rejecting Quality Tooling). Relying on those two factors, the
appellate court transferred the case to this Court, under 28 U.S.C. § 1631, which
allows a transfer to cure want of jurisdiction if a court finds that transfer “is in the
interests of justice” and that the case “could have been brought” in the transferee
court. Given this reasoning, the Court will not disregard the Ninth Circuit’s
analysis as dicta.
        The Court, therefore, holds that the decision of the Ninth Circuit is the law
of the case and that it is appropriate to review that decision under the principles
outlined in Christianson.
                       b. Do “Extraordinary Circumstances” Compel the Court to
                          Overturn the Ninth Circuit’s Decision?
       Since the decision in Christianson controls, the Court may “revisit” the
Ninth Circuit’s decision, but will not change the outcome of that decision, unless
“extraordinary circumstances” apply, such as if the Ninth Circuit’s decision was

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“‘clearly erroneous and would work a manifest injustice.’” 20 Christianson, 486
U.S. at 817 (quoting Arizona, 460 U.S. at 618 n.8). If the Ninth Circuit’s decision
is clearly erroneous, it would be reversible error for the Court to let it stand. See,
e.g., Rodriguez v. United States, 862 F.2d 1558, 1560 (Fed. Cir. 1988) (holding
that it was error for the Claims Court to not retransfer a case that was improperly
transferred to the court).
        The regulations in force at the time the bridge at Eighth Avenue was
removed provided guidance for the construction of bridges. Under those
regulations,
       [S]tructures crossing or encroaching on project canal, lateral or
       drain rights-of-way which are needed for private use may be
       constructed privately in accordance with plans approved by the
       Officer-in-Charge . . . . Such structures will be constructed and
       maintained under revocable permits on proper forms issued by the
       Officer-in-Charge of the irrigation project to the party or parties
       desiring such structures.
25 C.F.R. § 171.9(c) (1999). On three separate occasions, the BIA informed
McGuire that he could apply for one of these permits by submitting plans in
accordance with the regulations to Anspach, the Officer-in-Charge. 21 The BIA in
practice, however, did not use a formal process for the submission of applications,
and Anspach himself “had never personally received a written proposal during his
tenure at the BIA.” McGuire, 550 F.3d at 909. At trial, Anspach described the
BIA’s process in this way:
       Somebody wants to put in a bridge, they come to us and say,
       “We’d like to put a bridge here. And can you help us come up
       with some plans and specs[?]” Or “Here are my proposed plans
       and specs. What do you think?” And then we have our engineers
       and staff look at it and go from there. 22
In a letter to McGuire that informed him of the bridge removal, Anspach told him
to contact Ted Henry if he had any questions. 23 McGuire did contact Henry, as
well as Hinkins, and discussed the bridge removal and a new bridge with them.
According to McGuire, they informed him that they could not make a final
decision, only Anspach could, but Anspach never replied to any contact from
McGuire. As the Ninth Circuit noted, McGuire also challenged the removal

20
   The government also argues that, whatever the law of the case, a court still has
an obligation to examine its own jurisdiction. This argument is merely axiomatic.
In every case, a court has the responsibility to ensure that it has subject matter
jurisdiction. See View Eng’g, Inc. v. Robotic Vision Sys., Inc., 115 F.3d 962,
963 (Fed. Cir. 1997). That obligation is no different here.
21
   Def.’s Mot. Ex. 5; id. at Ex. 7; id. at Ex. 8.
22
   Pl.’s Resp. Ex. 1 at 300.
23
   Def.’s Mot. Ex. 5.
                                         12
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decision in tribal court, where the BIA did not appear, and unsuccessfully
appealed the lease cancellation within the BIA. McGuire, 550 F.3d at 907. After
McGuire left the property, the subsequent tenant applied for and received a
permit, which allowed him to construct a new bridge.
        The Ninth Circuit found that McGuire “did everything reasonably within
his power to prevent removal of the bridge and, when those efforts proved
ineffective, to build a new one.” Id. at 909. Therefore, the Ninth Circuit held that
the claim was ripe. Id. at 910. McGuire similarly argues before this Court that
the government reached a “final” decision when it removed the bridge.24
Anspach himself referred to the decision to block and remove the bridge as
“final,” although he did not address McGuire’s request for a new bridge. 25
        McGuire could have done more to obtain permission for a new bridge. He
could have, for instance, submitted a permit application, as the tenant after him
did, or he could have more actively pursued the informal process the BIA used.
As defendant pointed out at oral argument, McGuire testified that he discussed
with BIA officials a replacement bridge and drew a sketch of it prior to October
1999, but he was informed by letter in November 1999 that he needed to apply for
a permit in order to replace the bridge. 26 A reasonable person might have known
that more steps were needed to apply for a permit to construct a new bridge.
        If the Court were called on to look at this issue anew, it might reach a
different decision, but a decision in this case has already been made. A
consequence of the law of the case in transferred cases is that judges must, at
times, follow decisions that they themselves would not have made. This is
appropriate:
       If the law-of-the-case doctrine is to have any substance, it must
       sometimes require a judge to uphold a ruling on a question that the
24
   McGuire also argues that he does not need to obtain a “final decision” because
of the extraordinary delay and futility exceptions, neither of which the Ninth
Circuit addressed. The Court disagrees. McGuire first orally requested
permission for a new bridge sometime after February 1999. The old bridge was
removed in January 2000, and McGuire’s lease was cancelled in August 2000. A
court considering whether or not a delay is extraordinary looks at three basic
factors: length of the delay; presence of bad faith; and reasons for the delay. See
Bass Enters. Prod. Co. v. United States, 381 F.3d 1360, 1366–67 (Fed. Cir.
2004). Under the most charitable interpretation of the facts and arguments,
McGuire suffered a delay from February 1999 to August 2000. This short time
frame, coupled with the absence of bad faith and the safety concerns behind the
regulatory action, does not constitute an extraordinary delay. Furthermore, the
administrative futility exception does not apply, since that exception, as discussed
above, protects a claimant from having to submit multiple applications. Howard
W. Heck, 134 F.3d at 1472.
25
   Def.’s Mot. Ex. 8.
26
   Oral Argument Tr. at 9:6–9:14, Jan. 19, 2011.
                                        13
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       judge would decide the other way if it were presented for the first
       time. . . . [T]he doctrine strongly discourages reconsideration of
       issues [that have been] addressed, fully considered, and decided.
Hughes Aircraft Co. v. United States, 86 F.3d 1566, 1578 (Fed. Cir. 1996)
(Bryson, J., concurring). The Ninth Circuit decided, and the parties briefed, the
ripeness issue. The Court does not find that any extraordinary circumstances
compel it to overturn the decision, and will therefore abide by it.
       B. Motion for Summary Judgment
        The government has also moved for summary judgment and argues that,
even if the Court finds the case ripe for review, McGuire cannot meet the Federal
Circuit’s standards for a taking.
               1. Standard of Review
         Summary judgment is appropriate when, after drawing all reasonable
inferences in favor of the non-movant, no genuine issue of material fact exists for
trial, and the movant is entitled to judgment as a matter of law. RCFC 56(c)(1);
see Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); Consol. Coal Co.
v. United States, 615 F.3d 1378, 1380 (Fed. Cir. 2010). The party moving for
summary judgment has the initial responsibility of demonstrating the absence of a
genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323
(1986). A fact is material if it “might affect the outcome of the suit,” and a
dispute is genuine “if the evidence is such that a reasonable jury could return a
verdict for the nonmoving party.” Anderson, 477 U.S. at 248; Long Island Sav.
Bank, FSB v. United States, 503 F.3d 1234, 1244 (Fed. Cir. 2007). Once that
showing has been made, however, responsibility falls on the nonmoving party to
respond and show the presence of a genuine issue of material fact. Celotex, 477
U.S. at 324. To establish a genuine issue of material fact, a party “must point to
an evidentiary conflict created on the record; mere denials or conclusory
statements are insufficient.” SRI Int’l v. Matsushita Elec. Corp. of America, 775
F.2d 1107, 1116 (Fed. Cir. 1985). If the nonmoving party fails to make this
showing, entry of summary judgment is “mandate[d].” Celotex, 477 U.S. at 322.
               2. The Federal Circuit Uses a Two-Step Test to Analyze Takings.
        The Takings Clause of the Fifth Amendment bars private property from
being “taken for public use, without just compensation.” U.S. CONST. amend. V.
This provision aims to prevent the “[g]overnment from forcing some people alone
to bear public burdens which, in all fairness and justice, should be borne by the
public as a whole.” Armstrong v. United States, 364 U.S. 40, 49 (1960).
       The Federal Circuit uses a two-step test to analyze takings. A court first
looks at what was allegedly taken and inquires whether or not a plaintiff has a
property interest in it that is legally cognizable for purposes of the Fifth
Amendment. Schooner Harbor, 569 F.3d at 1362. If a plaintiff does have such
an interest, a court then determines whether or not the property interest was

                                        14
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actually “taken.” Acceptance Ins. Cos., Inc. v. United States, 583 F.3d 849, 854
(Fed. Cir. 2009). Although early takings cases dealt primarily with the physical
invasions of private property, courts now recognize that a regulation can also
amount to a compensable taking. See Lingle v. Chevron U.S.A., Inc., 544 U.S.
528, 537 (2005). 27 In Pennsylvania Coal Co. v. Mahon, Justice Holmes wrote
that “while property may be regulated to a certain extent, if regulation goes too far
it will be recognized as a taking.” 260 U.S. 393, 415 (1922). The key question in
regulatory takings cases is how far is “too far,” and, as discussed below, courts
have fashioned several tests to answer this question.
               3. Does McGuire Have a Legally Cognizable Property Interest?
        The Fifth Amendment does not specify or create the property interests that
it protects, and no rigid test exists for determining whether a property interest is
legally cognizable. See Air Pegasus of D.C., Inc. v. United States, 424 F.3d
1206, 1213 (Fed. Cir. 2005). Instead of a rigid test, a court identifies “the use
interest proscribed by the governmental action” and determines whether that use
“was part of the owner’s title to begin with, i.e., whether the land use interest was
a ‘stick in the bundle of property rights’ acquired by the owner.” M & J Coal Co.
v. United States, 47 F.3d 1148, 1154 (Fed. Cir. 1995) (citing Lucas, 505 U.S. at.
1027). To answer this question, a court looks to “existing rules and
understandings and background principles derived from an independent source,
such as state, federal, or common law, [to] define the dimensions of the requisite
property rights for purposes of establishing a cognizable taking.” Air Pegasus,
424 F.3d at 1213 (internal quotations removed). These background principles
include the regulatory framework as well as the classic rights of possession, use,
exclusion, and transfer. See Members of Peanut Quota Holders Ass’n v. United
States, 421 F.3d 1323, 1330–31 (Fed. Cir. 2005) (“[A] compensable interest is
indicated by the absence of express statutory language precluding the formation
of a property right in combination with the presence of the right to transfer and
the right to exclude.”).

27
    At oral argument, McGuire’s counsel briefly argued that there was a
compensable physical taking. Oral Argument Tr. at 35:4–19. Counsel suggested
that a physical taking could occur when the government has blocked the entrance
to a property, without actually entering the property. Id. Since oral argument was
the first time McGuire has suggested that a physical taking occurred, the issue has
not been briefed by the parties, and an extensive discussion of it is unnecessary at
this time. The Court notes, however, that the Federal Circuit recently described
the “clear line between physical and regulatory takings”; physical takings
“involve a physical occupation or destruction of property, while [regulatory
takings] involve restrictions on the use of property.” CRV Enters., Inc. v. United
States, 626 F.3d 1241, 1246 (Fed. Cir. 2010). See also id. at 1248 n.6 (citing
Warren v. City of Athens, 411 F.3d 697, 705 (6th Cir. 2005) (finding no physical
taking where the government did not “physically encroach[] on [plaintiffs’]
property”)). Without an actual encroachment onto property, a physical taking is
unlikely to be found.
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        The first step in determining whether a plaintiff has alleged a cognizable
property interest is to “identify what, if anything, was the subject of the alleged
taking.” Acceptance Ins., 583 F.3d at 855. That inquiry in this case is needlessly
thorny, due to the parties’ lack of specificity and McGuire’s failure to, even once,
discuss this critical first step of a takings analysis in any of his submissions to the
Court. The Court notes, again, that this step is foundational and that only “if the
court concludes that a cognizable property interest exists” may it proceed to the
second step of the takings analysis. Id. at 854.
        The parties have discussed a variety of property interests. Defendant, at
times, has argued that the property interest at issue is the “right to use the bridge
for access to the northern portion of the lease,” 28 while, at other times, defendant
has focused on a property interest in the specific, unsafe bridge that was
removed. 29 McGuire’s filings, at times, seem to assert that the government took a
property interest he had in the bridge itself, 30 while at other times asserting that
denial of the use of a bridge took his interest in the leased property. 31 At oral
argument, McGuire’s counsel stated that “the right to use the bridge” was a
“property right” that was “cognizable” and “compensable.” 32 At the end of the
day, however, McGuire’s request for compensation focuses on the farm lease and
lost crops, not on any compensation for the bridge itself.
          In assessing whether or not a Fifth Amendment property interest exists,
the Federal Circuit looks for “crucial indicia of a property right,” such as the
ability to sell, assign, transfer, or exclude. Conti v. United States, 291 F.3d 1334,
1342 (Fed. Cir. 2002). Where a desired use is dependent upon revocable
government permits, a property interest is likely lacking. See Am. Pelagic
Fishing Co. v. United States, 379 F.3d 1363, 1381 (Fed. Cir. 2004) (no property
interest where the use claimed was not “inherent in [the] ownership of the”
property but, instead, dependent upon permits); Mitchell Arms, Inc. v. United
States, 7 F.3d 212, 217 (Fed. Cir. 1993) (no property interest where government
denied authorization for plaintiff to sell some of his property). For instance, in
Colvin Cattle Co. v. United States, the plaintiff sued for a taking of his ranch
because the government denied him a permit to allow his cattle to graze on nearby
government property; the Federal Circuit found that any loss to his land was not
compensable because the loss did not occur “by virtue of governmental

28
   Def.’s Mot. 21.
29
   Def.’s Mot. 33–34 (arguing that the bridge itself constituted a nuisance and thus
could be removed without compensation).
30
   See Pl.’s Resp. 13 (noting “the taking of his bridge”) (emphasis added); id. at
3–4 (noting that “[a]s a result” of the “remov[al]” of the bridge, McGuire’s lease
was terminated); Compl. 8 (“The taking occurred because and when the bridge
was removed, and it was not replaced Defendants [sic], and when McGuire’s
request for its replacement was not granted.”).
31
   See Compl. 8 (noting that “the lease, the value of his improvements to the lease,
and his growing crop were taken”).
32
   Oral Argument Tr. at 34:24–35:2.
                                          16
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restrictions on a constitutionally cognizable property interest.” 468 F.3d 803, 808
(Fed. Cir. 2006).
         Summary judgment on this issue is premature. The lease subjects
McGuire’s property interest to “any prior, valid, existing claim or rights-of-way,
including the present existing roads,” but also guarantees McGuire “ingress and
egress to the leased premises over existing roadways under the possession and
control of the [CRIT].” 33 The parties dispute whether the CRIT owns the bridge.
If it does own the bridge, the lease could guarantee to McGuire the right to use the
bridge for access to his land. More broadly, McGuire’s claim is that government
action hindered his ability to farm land in which he clearly had a legally
cognizable property interest. On the other hand, McGuire faces a steep burden in
showing that his desired use of the bridge is not foreclosed by the regulatory
regime, which specifically deals with crossings constructed over BIA rights-of-
way. Testimony from those involved and further ventilation of these facts will aid
in the resolution of this issue, and summary judgment is therefore denied.
               4. Was There a Compensable Taking by Loss of Access?
        Government action that cuts off or denies “all feasible routes” of access to
a plaintiff’s property can constitute a taking. See Laney v. United States, 661
F.2d 145, 149 (Ct. Cl. 1981). For instance, in Foster v. United States, the plaintiff
owned mineral rights on a military base, but the government refused access to that
base. 607 F.2d 943, 947 (Ct. Cl. 1979). The court found a taking because the
government permanently denying all access to the property. Id. at 950. The
Court of Claims in Laney v. United States gives the example of a city block
surrounded on four sides by public streets: if the government cuts off access from
one side, there is no taking, “even if the economic fruitfulness of the block is
substantially impaired.” Laney, 661 F.2d at 149. If, however, the government
cuts of access from all four sides, then a taking has occurred. Id.
        McGuire argues that the northern portion of his property was taken by loss
of access. His own testimony, however, shows that he could still access that land,
albeit less profitably. 34 On the other hand, McGuire has extensively testified
about the difficulty of using other routes of access. 35 Due to that difficulty, those
routes may not have been “feasible” for his use. Laney, 661 F.2d at 149. This
testimony raises a triable issue of fact, and summary judgment is thus premature.
               5. Was There a Compensable Regulatory Taking?
        Courts have identified three basic varieties of regulatory takings cases to
answer the question of whether a regulation goes “too far.” The first two are
relatively narrow categorical or per se takings. First, a regulation that requires

33
   Def.’s Mot. Ex. 1, at 3, 10.
34
   Pl.’s Resp. Ex. 1, at 233 (“It’s not impossible. We can haul [hay] out in pickup
loads three bails [sic] at a time.”).
35
   Id. at 104–115.
                                         17
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even a minor permanent physical invasion of property will necessitate
compensation. See Lingle, 544 U.S. at 538; Loretto v. Teleprompter Manhattan
CATV Corp., 458 U.S. 419, 441 (1982). As discussed above, there was no
physical invasion of McGuire’s property. Second, if a landowner is deprived of
“all economically beneficial us[e]” of his property by a regulation, compensation
is due. Lucas v. S.C. Coastal Council, 505 U.S. 1003, 1019 (1992). Such a
“total” taking must be compensated, “except to the extent that ‘background
principles of nuisance and property law’ independently restrict the owner’s
intended use of the property.” Lingle, 544 U.S. at 539 (quoting Lucas, 505 U.S.
at 1026–32).
        The third category falls under the standards of Penn Central
Transportation Co. v. City of New York. 438 U.S. 104 (1978). That case does not
set a rigid test for regulatory takings but simply provides several factors of
“particular significance” in deciding when “‘justice and fairness’ require that
economic injuries caused by public action be compensated by the government,
rather than remain disproportionately concentrated on a few persons.” Id. at 124.
These factors include “‘[t]he economic impact of the regulation on the claimant
and, particularly, the extent to which the regulation has interfered with distinct
investment-backed expectations.’” Lingle, 544 U.S. at 538–39 (quoting Penn
Cent., 438 U.S. at 124). Additionally, the “‘character of the governmental
action’—for instance whether it amounts to a physical invasion or instead merely
affects property interests through ‘some public program adjusting the benefits and
burdens of economic life to promote the common good’” must be considered. Id.
(quoting Penn Cent., 438 U.S. at 124); see also Schooner Harbor, 569 F.3d at
1362.
                        a. Categorical Taking under Lucas
        In his response, McGuire briefly argues that a categorical taking under
Lucas occurred. 36 He alleges that the loss of the bridge deprived the property of
“all economically beneficial or productive use” and that he “could not generate
income” without the bridge. 37 He further argues that the removal of the bridge
caused his lease to have a “negative market value” because “the southern portion
was destined to fail to generate enough crop and resulting income to make the
lease payment.” 38
       The requirements for a categorical taking are stringent. A total
deprivation of “all economically beneficial or productive use[s]” of a property
must occur, not just a deprivation of a claimant’s desired use. Lucas, 505 U.S. at
1015 (emphasis added); Bair v. United States, 515 F.3d 1323, 1326 (Fed. Cir.
2008). At trial, McGuire testified that it was “not impossible” for him to continue
farming alfalfa; he would just be “less competitive” and less profitable.39 He also
36
   Pl.’s Resp. 26.
37
   Id.
38
   Id.
39
   Pl.’s Resp., Ex. 1 at 233.
                                        18
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admitted that he could farm wheat instead of alfalfa, although wheat was not
profitable enough to make the lease payments. 40 Given his testimony that some
productive use remained, McGuire has failed to raise a genuine issue of material
fact, and summary judgment in the government’s favor is therefore mandated.
                       b. Partial Regulatory Taking under Penn Central
        Since no categorical taking occurred, the Court must analyze McGuire’s
claim under the Penn Central factors. Under this ad hoc test, a court balances the
relative weights of three primary factors: the economic impact on the claimant;
the reasonable, investment-backed expectations of the claimant; and the character
of the governmental action. Penn Cent., 438 U.S. at 124.
                               i. The Economic Impact on the Claimant
         McGuire argues that he suffered a “severe economic injury,” since the
removal of the bridge prevented him from farming the northern portion of his
property. 41 The southern portion, according to McGuire, “generated a lower yield
and could not generate enough revenue to cover the overall lease payment.” 42
Thus, according to McGuire, “the government’s actions made it impossible for
[him] to use the overall leased property in an economically feasible manner.” 43
McGuire also cites to testimony from the trial in bankruptcy court where he
discussed the difficulty his haulers experienced in trying to use the alternate
routes. 44 The government, on the other hand, points to the expert report of Dr.
Allen that was developed during discovery in this Court. Dr. Allen’s report finds
that McGuire could have made renovations to his property that would have
allowed him to continue harvesting hay, and that these renovations would have
cost him between $30,266 and $78,600.
       Summary judgment on this issue is premature. The parties disagree as to
the measure of economic loss that McGuire suffered. A loss of enormous gravity
would counsel in favor of McGuire, while a slight loss would counsel in favor of
the government. The resolution of this factual dispute would affect the balancing
of Penn Central, and this dispute is thus material to the outcome of the litigation.
See Anderson, 477 U.S. at 248.
                              ii. The Extent of Interference with Reasonable,
                                  Investment-Backed Expectations
        The analysis of this factor focuses on reasonable, objective expectations,
rather than a claimant’s subjective expectations or hopes for a property. See
Ruckleshaus v. Monsanto Co., 467 U.S. 986, 1005–06 (1984); Chancellor

40
   Id. at 139.
41
   Pl.’s Resp. 24.
42
   Id. at 25.
43
   Id.
44
   Pl.’s Resp. Ex. 1, at 104–115.
                                        19
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Manor v. United States, 331 F.3d 891, 904 (Fed. Cir. 2003) (noting that a
claimant’s subjective expectations are “irrelevant”). One element that forms
those expectations is the “regulatory regime in place at the time the claimant
acquire[d] the property at issue.” Appolo Fuels, 381 F.3d at 1349 (internal
quotations removed). There is, however no “blanket rule” that prevents a
claimant from challenging a regulation of property that was in effect at the time
the claimant acquired an interest in the property. Rith Energy, Inc. v. United
States, 270 F.3d 1347, 1350 (citing Palazzolo, 533 U.S. at 628). Though, at
times, a “factual hearing” may be required to determine whether any reasonable
expectations exist, at other times no such hearing is required, and a court may just
examine the regulatory regime in place at the time of acquisition. Appolo Fuels,
381 F.3d at 1350.
        According to defendant, McGuire did not have a reasonable investment-
backed expectation in the use of the bridge to access the northern portion of the
property because the regulations in place allowed the BIA to revoke any permits
for the bridge. McGuire, on the other hand, argues that he “reasonably expected
to harvest alfalfa on the entire leased premises for the remainder of the lease.”45
The bridge had been in place for decades, and McGuire testified that BIA officials
told him he would be responsible for maintaining it. At trial, McGuire testified
that in January 1995 the superintendent of the CRA who served prior to Anspach
had told McGuire, “Remember, this is your bridge, your responsibility. It does
not belong to the Tribe or to BIA.” 46 The CRIT also appear to have had the
impression that the bridge would remain; they noted in a letter to Anspach on
December 9, 1998 that former BIA personnel told them that BIA’s “Irrigation
[Operation & Maintenance division] would incur a liability if they made an
attempt to maintain or remove the bridge.” 47
       Summary judgment on this issue is premature. Although the regulatory
regime certainly will shape whether or not McGuire’s expectation was reasonable,
testimony from the prior trial indicates that BIA officials may have given
McGuire the impression that the bridge would remain, as it had for prior decades.
A reasonable person may have understood from those decades of existence, and
from the lease, that CRIT was authorizing his continued use of the bridge.
Further factual development will aid in the resolution of this issue.
                              iii. The Character of the Governmental Action
        As part of the character prong of Penn Central, a court considers “the
actual burden imposed on property rights,” the allocation of that burden, and “the
magnitude or character of the burden a particular regulation imposes upon private
property rights.” Lingle, 544 U.S. at 542–43; see also Rose Acre Farms, Inc. v.
United States, 559 F.3d 1260, 1276–77 (Fed. Cir. 2009) (discussing the character
prong of Penn Central after the Supreme Court’s decision in Lingle). According
45
   Pl.’s Resp. 25.
46
   Pl.’s Resp. Ex. 1, at 265–66; id. at 525.
47
   Id. at 520.
                                          20
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to Penn Central itself, a taking “may more readily be found when the interference
with property can be characterized as a physical invasion by government . . . than
when interference arises from some public program adjusting the benefits and
burdens of economic life to promote the common good.” Penn Cent., 438 U.S. at
124.
         Some aspects of the character prong clearly favor the government in this
case, since the bridge was removed by the government due to concerns over its
safety. 48 The burden of removing the bridge was felt most keenly by McGuire,
but, as discussed by Dr. Allen, he may have had several options for dealing with
the removal of the bridge.
        In response, McGuire makes two arguments, both of which are explicitly
contradicted by case law. McGuire argues that the character factor “considers in
part whether the regulation advances a legitimate public purpose.” 49 This
assertion, however, is based on and cites to the substantive due process standard
of Agins v. City of Tiburon, 447 U.S. 255 (1980), which has been explicitly
overruled. Over the years, takings cases became muddled with due process
standards, and courts began to ask in takings cases whether a legitimate state
interest was advanced. See Lingle, 544 U.S. at 540–41. In Lingle v. Chevron
U.S.A., Inc., the Supreme Court clarified and untangled these precedents. Id. The
Court held that “the ‘substantially advances’ formula announced in Agins is not a
valid method of identifying regulatory takings for which the Fifth Amendment
requires just compensation.” Id. at 545; see also Rose Acre, 559 F.3d at 1276
(“In a unanimous retreat, the Supreme Court discarded the ‘substantially
advances’ test set forth in Agins v. City of Tiburon.”). McGuire, however, cites to
Agins and asks this Court to review whether the “regulation advances a legitimate
public purpose.” 50 The Court will not follow an explicitly disallowed line of
reasoning.
        McGuire also attacks the decision to remove the bridge, but a takings case
is an inappropriate vehicle for such an argument. McGuire argues that the
government removed the bridge based on “inadequate evidence that it was not
safe” and lists numerous reasons why the evidence was inadequate.51 These types
of collateral attacks are barred in takings cases, since “in a takings case [the
Court] assumes that the underlying governmental action was lawful” and
“decide[s] only whether the governmental action in question constituted a taking
for which compensation must be paid.” Rith Energy, 270 F.3d at 1352; see M &
J Coal, 47 F.3d at 1154 (“Neither the Court of Federal Claims nor this court may
entertain a collateral challenge to the validity of [agency] actions.”).
      The Court, however, finds summary judgment on this issue to be
premature. Under Penn Central, the “magnitude” and allocation of the burden of
48
   See Def.’s Mot. Ex. 6.
49
   Pl.’s Resp. 23 (citing Agins v. City of Tiburon, 447 U.S. 255, 260 (1980)).
50
   Id.
51
   Id. at 24.
                                        21
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a government action is relevant to the analysis of this factor, and in this case
testimony concerning the burden and the alternate means of access mentioned in
Dr. Allen’s report will further develop this point. See Lingle, 544 U.S. at 542–43.
                              iv. Was the Bridge a Nuisance?
        Finally, the government contends that McGuire’s operation of an unsafe
bridge constituted a nuisance, and that removing it generated no liability. “It is a
settled principle of federal takings law that under the Penn Central analytic
framework, the government may defend against liability by claiming that the
regulated activity constituted a state law nuisance without regard to the other
Penn Central factors.” Appolo Fuels, 381 F.3d at 1347. The government must
“identify background principles of nuisance and property law that prohibit” the
desired uses of a plaintiff’s property. Lucas, 505 U.S. at 1031. Under Arizona
law, it is a public nuisance for anything “[t]o be injurious to health, indecent,
offensive to the senses or an obstruction to the free use of property that interferes
with the comfortable enjoyment of life or property by an entire community or
neighborhood or by a considerable number of persons.” ARIZ. REV. STAT. ANN. §
13-2917(A)(1) (2010).
        There is a disconnect between the government’s nuisance argument, which
focuses on use of an unsafe bridge, and its other arguments regarding Penn
Central, which focus on the burden access by other routes placed on McGuire.
The Ninth Circuit found this case ripe for review because the government
essentially denied McGuire’s informal application to construct a new bridge, and
this Court is abiding by that decision. Presumably, McGuire would not have
constructed a bridge so unsafe that it would have constituted a nuisance. If, in
further proceedings in this case, it is shown that McGuire wished to operate an
unsafe bridge that fell within the prohibition of the Arizona statute, then judgment
for the government may be appropriate, at that time. Summary judgment is not
appropriate at this time.
III.   Conclusion
       For the above stated reasons, the government’s Motion To Dismiss is
DENIED, and the government’s Motion For Summary Judgment is DENIED in
part and GRANTED in part. Issues of material fact exist as to whether a legally
cognizable property interest exists for purposes of the Fifth Amendment, as to
whether a taking by loss of access occurred, and as to whether a regulatory taking
occurred under Penn Central. 438 U.S. at 124. The Court, however, finds that
summary judgment for defendant is proper on the issue of McGuire’s claim for a
categorical taking under Lucas. 505 U.S. at 1015. The Clerk is directed to act in
accordance with the Court’s ruling.




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       In addition, the parties shall submit to the Court by March 18, 2011 a Joint
Status Report, including a proposed schedule of further proceedings in accordance
with RCFC Appendix A, § VI.
       No costs.
       IT IS SO ORDERED.
                                                 s/Bohdan A. Futey
                                             BOHDAN A. FUTEY
                                                   Judge




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